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PPG\Shapes-Arch Holdings\application in support of motion to compel administrative expense



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___________________________________
In re:                              : UNITED STATES BANKRUPTCY COURT
SHAPES/ARCH HOLDINGS, LLC,          : DISTRICT OF NEW JERSEY
et al.,                             : Chapter 11 Case Nos. 08-14631 through
                      Debtors       :   08-14635 (GMB) (jointly administered)
                                    : Hearing Date: June 9, 2008, 10:00 A.M.
___________________________________ : Oral Argument Requested if Opposed

                   APPLICATION IN SUPPORT OF MOTION TO COMPEL PAYMENT
                       ADMINISTRATIVE EXPENSE CLAIMS PURSUANT TO
                        11 U.S.C. §§ 105(a), 363(b), 364(b), 503(a) AND 503(b)(9),
                           FILED ON BEHALF OF PPG INDUSTRIES, INC.

TO:           THE HONORABLE GLORIA M. BURNS
              United States Bankruptcy Judge

              ALL E-FILERS

              PPG Industries, Inc. (“PPG”), a trade creditor of one or more of the above-captioned

debtors and party in interest in their bankruptcy cases, by and through its undersigned attorneys,

The Chartwell Law Offices, LLP, hereby moves for the entry of an Order or Orders, pursuant to

11 U.S.C. §§ 105(a), 363(b), 364(b), 503(a) and 503(b)(9) compelling payment of PPG’s

administrative claims.

                                                                          BACKGROUND

              1.            On March 16, 2008 (the “Petition Date”), voluntary petitions for relief under

chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), by: Shapes/Arch
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Holdings, LLC at Case No. 08-14631; Shapes, LLC at Case No. 08-14632; Ultra, LLC at Case

No. 08-14633; Delair, LLC at Case No. 08-14634; and Accu-Weld at Case No. 08-14635.

       2.      The debtors (collectively, the “Debtors”) have requested, and by Order entered

March 18, 2008, the Court has ordered that their cases be jointly administered.

       3.      A supporting memorandum of law is not necessary in this matter, as no novel

legal issues are presented.

                              FACTS IN SUPPORT OF MOTION

       4.      PPG is in the business of manufacturing and selling a broad variety of goods,

including paint, glass, chemicals and plastics.

       5.      In the ordinary course of its business, PPG shipped goods to both Accu-Weld and

Shapes in the ordinary course of their respective businesses prior to the Petition Date (the

“Goods”). Attached to the Certification of Kevin B. Stiffler filed in support of the instant

Motion (the “Stiffler Certification”), as Exhibits “A” and “B” are Excel Spreadsheets detailing

the shipments of Goods to Accu-Weld and Shapes, respectively, during the forty-five (45) day

preceding the Petition Date (the “Reclamation Period”) and twenty (20) day period day

preceding the Petition Date (the “Administrative Claim Period”), which are incorporated herein

by reference (collectively, the “Reclamation Statements”).

       6.      PPG’s charges for the Goods as reflected by the Reclamation Statements were fair

and reasonable, and according to one or more written agreement(s) between PPG and said

debtor(s).




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       7.      The aforesaid sales and deliveries of Goods to Accu-Weld are reflected in the

Invoices attached to the Stiffler Certification collectively as Exhibit “C”, which are incorporated

herein by reference, for which Goods PPG has not been paid.

       8.      The aforesaid sales and deliveries of Goods to Shapes are reflected in the Invoices

attached to the Stiffler Certification collectively as Exhibit “D”, which are incorporated herein by

reference, for which Goods PPG has not been paid.

       9.      On March 25, 2008, PPG issued a Notice of Reclamation to Accu-Weld (the

“Accu-Weld Reclamation Notice”). A true and correct copy of the Accu-Weld Reclamation

Notice is attached to the Stiffler Certification as Exhibit “E” and is incorporated herein by

reference.

       10.     As set forth in the Accu-Weld Reclamation Notice, PPG shipped Goods to Accu-

Weld in the forty-five (45) days prior to the Petition Date with a total value of $118,162.75, and

PPG therefore demanded reclamation of those Goods. Further, the Accu-Weld Reclamation

Notice set forth PPG’s request for payment of the value of those Goods received by Accu-Weld

during the twenty (20) day period preceding the Petition Date in the amount of $63,401.40 (the

“Accu-Weld Administrative Claim”).

       11.     On April 1, 2008 PPG issued a Notice of Reclamation to Shapes (the “Shapes

Reclamation Notice”). A true and correct copy of the Shapes Reclamation Notice is attached to

the Stiffler Certification as Exhibit “F” and is incorporated herein by reference.

       12.     As set forth in the Shapes Reclamation Notice, PPG shipped Goods to Shapes in

the forty-five (45) days prior to the Petition Date with a total value of $65,793.60, and PPG

therefore demanded reclamation of those Goods. Further, the Shapes Reclamation Notice set


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forth PPG’s request for payment of the value of those Goods received by Shapes during the

twenty (20) day period preceding the Petition Date in the amount of $27,162.80.

       13.       Debtors responded to the Accu-Weld Reclamation Notice and Shapes

Reclamation Notice (collectively, the “Reclamation Notices”) that they are not obligated to

return the Goods covered thereby, because they are subject to the liens and security interests of

their secured creditor(s).

       14.       Accordingly, PPG is entitled to an administrative claim for the value of the

Reclaimable Goods received by Accu-Weld and Shapes during the Administrative Claim Period

pursuant to 11 U.S.C. §§ 105(a), 363(b), 364(b), 503(a) and 503(b)(9).



                                      RELIEF REQUESTED

       15.       Pursuant to Section 503(a) of the Bankruptcy Code, “[a]n entity may timely file a

request for payment of an administrative expense, or may tardily file such request if permitted by

the court for cause.” 11 U.S.C. Section 503(a).

       16.       It is further provided in Section 503(b)(9) of the Bankruptcy Code, in relevant

part, that, after notice and hearing, there shall be allowed as administrative expenses, the value of

any goods received by the debtor within twenty (20) days before the commencement of a

bankruptcy case, where the good s have been sold to the debtor in the ordinary course of the

debtor’s business.

       17. PPG has sold the Reclaimable Goods to the Debtors in the ordinary course of its, and

their respective businesses, and they were received by the Debtors within 20 days prior to the

Petition Date.


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       WHEREFORE, PPG Industries, Inc. respectfully requests the entry of an Order or

Orders, substantially in the form annexed, compelling Debtors to PPG’s Accu-Weld

Administrative Expense Claim in the amount of $63,401.40, and PPG’s Shapes Administrative

Expense Claim in the amount of $27,162.80, and for such other and further relief as is just and

proper under the circumstances.

                                             Respectfully submitted,

                                             THE CHARTWELL LAW OFFICES, LLP
Dated: May 10, 2008
                                             By: /s/ John J. Winter
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